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1    WILLKIE FARR & GALLAGHER LLP
     BENEDICT Y. HUR (SBN: 224018)
2      bhur@willkie.com
     SIMONA AGNOLUCCI (SBN: 246943)
3
       sagnolucci@willkie.com
4    EDUARDO E. SANTACANA (SBN: 281668)
       esantacana@willkie.com
5    NOORJAHAN RAHMAN (SBN: 330572)
       nrahman@willkie.com
6    ARGEMIRA FLÓREZ (SBN: 331153)
       aflorez@willkie.com
7
     HARRIS MATEEN (SBN: 335593)
8      hmateen@willkie.com
     One Front Street, 34th Floor
9    San Francisco, CA 94111
     Telephone: (415) 858-7400
10
     Attorneys for Defendant
11   GOOGLE LLC
12

13                              UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15

16   ANIBAL RODRIGUEZ, et al. individually and on    Case No. 3:20-CV-04688 RS
     behalf of all others similarly situated,
17
                                                      DECLARATION OF EDUARDO E.
                                 Plaintiff,           SANTACANA IN SUPPORT OF
18
            vs.                                       GOOGLE LLC’S OPPOSITION TO
19                                                    PLAINTIFFS’ MOTION FOR CLASS
     GOOGLE LLC, et al.,                              CERTIFICATION AND
20
                                                      APPOINTMENT OF CLASS
                                 Defendant.           REPRESENTATIVES AND CLASS
21
                                                      COUNSEL
22
                                                     Date:      October 5, 2023
23                                                   Time:      1:30 p.m.
                                                     Judge:     Hon. Richard Seeborg
24                                                              Ctrm. 3, 17th Floor, SF
25

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     DECLARATION OF SANTACANA ISO GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
         CERTIFICATION AND APPOINTMENT OF CLASS REPRESENTATIVES AND CLASS COUNSEL
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1            I, EDUARDO E. SANTACANA, declare that:

2            1.     I am an attorney licensed to practice law in the State of California and am a partner

3    with the law firm of Willkie Farr & Gallagher LLP, located at One Front Street, San Francisco,

4    California 94111, counsel for Defendant Google LLC (“Google”) in the above-captioned action.

5    Unless otherwise stated, the facts I set forth in this declaration are based on my personal

6    knowledge or knowledge I obtained through my review of corporate records or other

7    investigation. If called to testify as a witness, I could and would testify competently to such facts

8    under oath..

9            2.     I submit this declaration in support of Google’s Opposition To Plaintiff’s Motion

10   For Class Certification And Appointment Of Class Representatives And Class Counsel.

11           3.     Attached hereto as Exhibit 1 is a true and correct copy of the “Google Analytics for
12   Firebase” webpage, which was downloaded on August 24, 2023 at

13   https://firebase.google.com/docs/analytics.

14           4.     Attached hereto as Exhibit 2 is a true and correct copy of an excerpt of Google’s
15   Fourth Supplemental Responses and Objection to Plaintiff’s Interrogatories, Set One, served on

16   November 5, 2021.

17           5.     Attached hereto as Exhibit 3 is a true and correct copy of an internal document from
18   Google, produced with the Bates stamp GOOG-RDGZ-00056514.

19           6.     Attached hereto as Exhibit 4 is a true and correct copy of the “[GA4] Automatically
20   collected events” webpage, which was downloaded on August 24, 2023, at

21   https://support.google.com/firebase/answer/9234069?hl=en.

22           7.     Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the
23   deposition transcript of witness Steve Ganem, dated October 28, 2022.

24           8.     Attached hereto as Exhibit 6 is a true and correct copy of the Rebuttal Expert
25   Report of Google’s technical expert John R. Black, PhD., served May 31, 2023.

26           9.     Attached hereto as Exhibit 6-A is a true and correct copy of Appendix A to the
27   Rebuttal Expert Report of Google’s technical expert John R. Black, PhD., served on May 31,

28   2023.
                                                2
     DECLARATION OF SANTACANA ISO GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
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1           10.    Attached hereto as Exhibit 7 is a true and correct copy of Appendix X4 to the
2    Rebuttal Expert Report of John Black, served with Dr. Black’s report on May 31, 2023.

3           11.    Attached hereto as Exhibit 8 is a true and correct copy of a Google policy, which
4    was attached to Dr. Black’s Appendix X4 as Exhibit 20, and served with Dr. Black’s report on

5    May 31, 2023.

6           12.    Attached hereto as Exhibit 9 is a true and correct copy of excerpts from the
7    deposition transcript of Plaintiffs’ expert Jonathan Hochman, taken June 26, 2023.

8           13.    Attached hereto as Exhibit 10 is a true and correct copy of excerpts from the
9    deposition transcript of Plaintiff Sal Cataldo, taken February 17, 2022.

10          14.    Attached hereto as Exhibit 11 is a true and correct copy of copy of excerpts from
11   the deposition transcript of Plaintiffs’ expert Michael J. Lasinski, dated June 29, 2023.

12          15.    Attached hereto as Exhibit 12 is a true and correct copy of excerpts from the
13   deposition transcript of witness Belinda Langner, dated December 15, 2022.

14          16.    Attached hereto as Exhibit 13 is a true and correct copy of the Expert Report of
15   Donna L. Hoffman, dated May 31, 2023.

16          17.    Attached hereto as Exhibit 14 is a true and correct copy of excerpts of Google
17   LLC’s Objections and Responses to Plaintiffs’ Interrogatories, Set Seven, dated October 31, 2022.

18          18.    Attached hereto as Exhibit 15 is a true and correct copy of Plaintiff Sal Cataldo’s
19   Objections and Responses to Defendant’s Fourth Set of Interrogatories, dated August 17, 2022.

20          19.    Attached hereto as Exhibit 16 is a true and correct copy of excerpts from the
21   deposition transcript of Plaintiff Susan Harvey, dated October 27, 2022.

22          20.    Attached hereto as Exhibit 17 is Appendix X5 to the Rebuttal Expert Report of John
23   Black, served with Dr. Black’s report on May 31, 2023, which is a spreadsheet listing a Selection

24   of Applications that Disclosed Use of Multiple Analytics Services.

25          21.    Attached hereto as Exhibit 18 is a true and correct copy of excerpts from the
26   deposition transcript of Chris Ruemmler, dated September 9, 2022.

27          22.    Attached hereto as Exhibit 19 is a true and correct copy of excerpts from the
28   Rebuttal Expert Report of Christopher R. Knittel, PhD., dated May 31, 2023.
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     DECLARATION OF SANTACANA ISO GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
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1              23.   Attached hereto as Exhibit 20 is a true and correct copy of excerpts from the
2    deposition transcript of Plaintiff Anibal Rodriguez, dated October 16, 2022.

3              24.   Attached hereto as Exhibit 21 is a true and correct copy of Google LLC’s
4    Supplemental Objections and Responses to Plaintiffs’ Interrogatories, Set Six (Nos. 12, 16, & 17),

5    dated November 1, 2022.

6              25.   Attached hereto as Exhibit 22 is a true and correct copy of Expert Rebuttal Report
7    of Google’s expert Anindya Ghose, PhD., dated May 31, 2023.

8              26.   Attached hereto is Appendix A, a collection of publicly available Google policies.
9    The Appendix contains the following:

10            (a) Privacy Policy as published on June 28, 2016, downloaded on August 24, 2023,

11            available at: https://policies.google.com/privacy/archive/20160628

12            (b) How Google user your data for ads as published on September 26, 2016, downloaded

13            on August 23, 2023, available at:

14            https://web.archive.org/web/20160926141132/https://privacy.google.com/how-ads-

15            work.html

16            (c) Advertising – Privacy & Terms as published on June 29, 2016, downloaded on August

17            23, 2023, available at:

18   https://web.archive.org/web/20160629135224/https://www.google.com/policies/technologies/ads/
19            (d) Key Terms – Privacy & Terms as published on April 26, 2018, downloaded on August

20            24, 2023, available at:

21   https://web.archive.org/web/20160627215305/https://www.google.com/policies/privacy/key-

22   terms/

23            (e) How Google uses data when you use our apps – Privacy & Terms as published July 18,

24            2016, downloaded on August 24, 2023, available at:

25   https://web.archive.org/web/20160718100338/http://www.google.com/policies/privacy/partners/

26            (f) Advertising – Privacy & Terms as published on April 4, 2018, downloaded on August

27            23, 2023, available at:

28            https://web.archive.org/web/20180404001532/https://policies.google.com/technologies/ads
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     DECLARATION OF SANTACANA ISO GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
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1          27.     Attached hereto is Appendix B, a collection of privacy policies previously filed as
2    Exhibits A-01–L-02 on December 17, 2020 (Dkt. 64-1–22) in connection with the Declaration of

3    Jayvan E. Mitchell in Support of Request for Judicial Notice (Dkt. 64).

4          28.     Attached hereto is Appendix C, a spreadsheet of publicly available policies from
5    apps that Plaintiffs disclosed having downloaded during the Class Period.

6           I declare under penalty of perjury under the laws of the United States that the foregoing is

7    true and correct.

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     Dated: August 24, 2023                              /s/ Eduardo E. Santacana
10                                                       EDUARDO E. SANTACANA

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